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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE NEURONTIN MARKETING AND
SALES PRACTICES LITIGATION

THIS DOCUMENT RELATES TO:

Harden Manufacturing Corp. v. Pfizer, Inc., et al

The Guardian Life Ins. Co. v. Pfizer, Inc., et al.

Aetna, Inc. v. Pfizer, Inc., et al.

Teamsters Health & Welfare Fund of Philadeiphia
and Vicinity v. Pfizer, Inc., et al

Emma B. Christina v. Pfizer, Inc., et al

Debra Mull v. Pfizer, Inc., et al.

Annie D. Blevins v. Pfizer, Inc., et al.

ASEA/AFSCME Local 52 Health Benefits Trust
and Brian Krah v. v. Pfizer, Inc., et al.

Maggie Dorty v. Pfizer, Inc., et al.

Dianne Hood v. Pfizer, Inc., et al

Joyce B. Duhe v. Pfizer, Inc., et al.

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MDL Docket No. 1629

Judge Patti B. Saris

Civil Action No. 04-10981

Civil Action No. 04-10739

Civil Action No. 04-10958

Civil Action No. 04-10984

Civil Action No. 04-1450

Civil Action No, 04-1489

Civil Action No. 6:04-1162

Civil Action No.04-02577

Civil Action No. 04-1547

Civil Action No. 04-1575

Civil Action No.04-1591
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)
Tammylee Willoz v. Pfizer, Inc., et al )
)
)

Gulf Distributing Holdings, LLC v. Pfizer, Inc.,et al.)

Mary Jane Gordon v. Pfizer, Inc., et al.

Lorraine Kopa v. Pfizer, Inc., et al

Julie K. Bakle v. Pfizer, Inc., et al.

Patricia Ann White v. Pfizer, Inc., et al.

Sylvia G. Hyman v. Pfizer, Inc., et al.

Mary Lou Lienerth vy. Pfizer, Inc., et al,

Brenda Straddeck v. Pfizer, Inc., et al.

Claudia Lang v. Pfizer, Inc., et al.

Johnny Ray Meeks, et al. v. Pfizer, Inc., et al.

Gerald Smith v. Pfizer, Inc., et al.

John Lerch v. Pfizer, Inc., et al.

James Hope v. Pfizer, Inc., et al,

Clifford Eckenrode v. Pfizer, Inc., et al,

Civil Action No

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Civil Action No

Civil Action No

. 04-1234

. 04-0403

. 04-552

- 04-4593

. 2:04-2935

. 04-1712

. 3:04-215

. 04-1161

. 04-4106

. 5:04-234

. 04-1781

. 1:04-1052

. 0:04-3021

. 3:04-248

. 3:04-240
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James Doyle v. Pfizer, Inc., et al. ) Civil Action No. 2:04-2509

CORRECTED [RQ@2585B)] CASE MANAGEMENT ORDER

WHEREAS, on October 26, 2004, the Judicial Panel on Multidistrict Litigation (the
“Judicial Panel”) issued an order pursuant to 28 U.S.C, § 1407 transferring twenty-seven actions
to the District of Massachusetts for coordinated or consolidated pre-trial proceedings;

WHEREAS, the Judicial Panel’s order of October 26, 2004 provided that the transferred
cases be captioned Jn re: Neurontin Marketing and Sales Practice Litigation and be given the
designation MDL 1629;

WHEREAS, the undersigned plaintiffs’ counsel represent that they have contacted all
plaintiffs’ counsel, that they have discussed the efficient prosecution of this litigation, and that all
counsel were invited to participate in the discussions;

WHEREAS, on November 23, 2004, this Court conducted an initial status conference
during which, in part, the Court directed that the parties file a proposed order on or before
December 15, 2004; and

WHEREAS, at the November 23, 2004, status conference, the Court also set forth certain
dates for the filing of amended complaints, responsive pleadings, and further case management
orders; and

WHEREAS, in order to promote judicial economy and avoid duplication, the Court finds
that it would be appropriate to provide for consolidation and/or coordination of all actions filed,
temoved to, or transferred to this District and for an organization of Plaintiffs’ counsel to

coordinate the efforts of counsel in these actions. Accordingly,
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IT ITS HEREBY ORDERED THAT the following Case Management Order shall govern
all proceedings in this proceeding:

1. PRETRIAL CONSOLIDATION AND/OR COORDINATION

I. By order of the Judicial Panel, the purported class actions listed on Exhibit A
have been transferred to this Court for coordinated pretrial proceedings. Additional cases,
identified on Exhibit B, have been conditionally transferred by the Judicial Panel to this Court
for coordinated pretrial proceedings. These cases and any other purported class action cases that
are subsequently filed in, transferred to or removed to this proceeding are referred to as the
“Class Action Cases.”

2. Actions, listed on Exhibit C, were filed against Defendants in this Court and

include similar allegations as those made in the Class Action Cases. The cases listed on Exhibit
C, referred to as the “Private Non-Class Cases,” shall be consolidated with the Master Docket
herein and coordinated with the Class Action Cases for pretrial proceedings.

3. The Class Action Cases and the Private Non-Class Cases are referred to
collectively as the MDL 1629 Cases,

4, This Order does not constitute a determination that the actions consolidated
and/or coordinated for pretrial purposes should be consolidated for trial, nor does it have the
effect of making any entity or person a party to any action in which he/she or it has not been
named, served or added in accordance with the Federal Rules of Civil Procedure. No party, by
agreeing to this Order, waives any defense of lack of personal jurisdiction or insufficiency of
service of process.

A. Applicability of Order

The terms of this Order shall apply automatically to the MDL 1629 Cases and to all other

cases that become a part of this proceeding by virtue of being filed in, removed to, or transferred
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to this Court (including cases transferred pursuant to Local Rules 28 U.S.C. § 1404(a), or 28
U.S.C. § 1407). Any previous request to this Court by any plaintiff for entry of a case
management and/or scheduling order is hereby superseded,
B. Objections to Order

Objections to the terms of this Order must be filed by parties or their counsel within

fifteen (15) days of receipt of the Order.
C. Dissemination of Order

Within five (5) days of the date of this Order, Plaintiffs’ Liaison Counsel (designated
below) shall send a copy of this Order by overnight delivery, hand delivery or telecopy to all
plaintiffs’ counsel in all actions to which this Order applies. When an action that properly
belongs as part of this proceeding is hereinafter filed before this Court or transferred or removed
to this Court from another forum, Plaintiffs’ Liaison Counsel shall immediately send a copy of
this Order by overnight delivery, hand delivery, or telecopy to plaintiffs’ counsel in that action.
i. CASE IDENTIFICATION

A. Master Docket and Record

For the convenience of the parties and the Court, the Clerk of this Court will maintain a
master docket with a single docket number of Civil Action No. 04-1098] (the number for
Harden Manufacturing Corp. v. Pfizer, Inc., et al) in a master record under the style: “Jn re
Neurontin Marketing and Sales Practices Litigation.” When an order, pleading or other
document is filed and docketed in the Master Docket, it shall be deemed filed and docketed in
each individual case to the extent applicable and will not ordinarily be separately docketed or
physically filed in any individual cases. However, the caption may also contain a notation
indicating whether the document related to all cases or only to specified cases, as described

below. All counsel who are filing pleadings in this proceeding shall file them using Civil Action
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No. 04-10981, (the “main file No.”). A pleading may also bear the docket number of an
individual case, in addition to the Master Docket Number, if it relates to a particular case or
cases as provided below, All counsel are required to apply for, effectuate and maintain access to
the electronic filing system of this Court.

B. Captions

All orders, pleadings, motions, and other documents filed in this proceeding shall bear a

caption in the following format:

IN RE NEURONTIN MARKETING AND
SALES PRACTICES LITIGATION

MDL Docket No. 1629

Master File No. 04-1098]

THIS DOCUMENT RELATES TO:

[ALL ACTIONS] [SPECIFIC ACTION]. Judge Patti B. Saris

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Cc. Master Filing

If a document that is filed in this proceeding is generally applicable to all consolidated
actions, the caption shall include the notation that it relates to “All Actions,” and the Clerk will
file and docket only in the master docket. Likewise, if a document that is filed in this proceeding
is generally applicable to a category of cases, the caption shall so indicate, and the Clerk will file
and docket the document only in the master docket.

D. Separate Filing

Ifa document is intended to apply only to a particular case or cases, the caption shall

indicate the District of Massachusetts docket number of those case(s) to which it applies.
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Ill. ORGANIZATION OF COUNSEL

A. Designation

Pending further order of this Court, the Court designates under Rule 23(g)(2)(a) the
following firms to act on behalf of Plaintiffs with responsibilities hereinafter described:

l. As Plaintiffs’ Liaison Counsel:

Thomas M. Sobol, Esquire
Hagens Berman LLP

One Main Street, 4” Floor
Cambridge, MA 02142
617-482-3700
617-482-3003

2. Class Plaintiffs’ Steering Committee Members:

Don Barrett, Esquire
Barrett Law Office

404 Court Square North
P.O. Box 987
Lexington, MS 39095

Daniel Becnel, Jr., Esquire

Law Offices of Daniel Becnel, Jr.
106 W. Seventh Street

P.O, Drawer H

Reserve, LA 70084

James Dugan, Esquire
Dugan & Browne

650 Poydras St., Suite 2150
New Orleans, LA 70130

Thomas Greene, Esquire
Greene & Hoffman
125 Summer Street
Boston, MA 02110

Thomas M. Sobol, Esquire
Hagens Berman LLP

One Main Street, 4° Floor
Cambridge, MA 02142
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Barry Himmelstein, Esquire
Lieff Cabraser Heimann & Bernstein
Embarcadero Center West
275 Battery Street, 30" Floor
San Francisco, CA 94111-3339
3: Plaintiffs’ Non-Class Steering Committee Members:
Linda P. Nussbaum, Esquire
Cohen Milstein Hausfeld & Toll P.L.L.C
150 East 52™ Street
Thirteenth Floor
New York, NY 10022
Richard Cohen, Esquire
Lowey Dannenberg Bemporad & Selinger, P.C.
The Gateway
One North Lexington Avenue
White Plains, NY 10601

B. Plaintiffs’ Steering Committee Responsibilities

1. Plaintiffs’ counsel appointed as members of the Class Plaintiffs’ Steering
Committee and the Plaintiffs” Non-Class Steering Committee above shall be referred to
collectively as Plaintiffs’ Steering Committee.

2. Plaintiffs’ Steering Committee shall have sole authority over the following
matters on behalf of Class Plaintiffs in their respective cases: (a) the establishment of working
committees for the efficient prosecution of the litigation and appointment of chair persons and
members of such committees: (b) the initiation, response, scheduling, briefing and argument of
all motions; (c) the scope, order and conduct of all discovery proceedings: (d) such work
assignments to other Plaintiffs’ counsel as they may deem appropriate: (e) the retention of
experts; (f) designation of which attorneys may appear at hearings, depositions and conferences

with the Court; (g) the timing and substance of any settlement negotiations with Defendants; and

(h) other matters concerning the prosecution and resolution of their respective cases.
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3. No motion shall be initiated or filed on behalf of any Class Plaintiff except
through Class Plaintiffs’ Steering Committee.

4, Class Plaintiffs’ Steering Committee shall have sole authority to communicate
with defendants' counsel and the Court on behalf of all Class Plaintiffs, unless that authority is
expressly delegated to other counsel. Defendants' counsel may rely upon all agreements made
with Class Plaintiffs' Steering Committee.

5. Plaintiffs’ Non-Class Steering Committee members shall participate in the
Plaintiffs’ Steering Committee to the extent hecessary and appropriate (i) to prosecute the
interest of the Private Non-Class cases, (ii) to coordinate with all Private Non-Class Cases, and
(iii) to seek the joint and efficient Prosecution of the Private Non-Class Cases with the Class
Action Cases.

Cc. Plaintiffs' Liaison Counsel Responsibilities

1. Plaintiffs' Liaison Counsel shall (a) maintain and distribute to all counsel an up-
to-date service list; (b) receive and, as appropriate, distribute to plaintiffs’ counsel orders from
the Court and materials served by Defendants’ counsel: and (c) communicate with Plaintiffs!
counsel information concerning the status of and developments in this proceeding.

2. Plaintiffs' Liaison Counsel is hereby designated as the counsel for plaintiffs upon
whom all notices, orders, pleadings, motions, discovery and memoranda are to be served, except
for case-specific matters, which shall be served on Class Plaintiffs’ Liaison Counsel as well as on
the attorneys of record in that particular case.

D. Further Orders

Upon application of Plaintiffs’ Steering Committee, or by the Court sua sponte, further

organizational order(s), including orders under Fed. R. Civ. 23(g)(2)(a), will be considered.
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E. Admissions to Practice

Each attorney acting as counsel for any party who is a member in good standing of the

bar of the highest court of any State or of any United States District Court shall be deemed

admitted pro hac vice before the Court, without further action, in connection with these

proceedings upon payment of the appropriate filing fee and the filing of a Notice of Appearance.

IV. PLEADING ISSUES

The following schedule shall apply to the filing of a consolidated class action

complaint, to any existing or amended complaint in the Private Non-Class Cases, and to

responsive pleadings:

Event
Filing of a consolidated complaint in the Class Action
Cases, and filing of any amended complaint in the
Private, Non-Class Cases (if any).

Defendants’ responsive motions (if any) to the foregoing
complaints,

Opposition(s) to any responsive motions.

Defendants’ reply (if any) to oppositions to responsive
motions.

Plaintiff's sur-reply, (if any) to defendants’ reply on
motions to dismiss.

Due Date

January 18, 2005

February 28, 2005

March 31, 2005

April 15, 2005

May 2, 2005

Any consolidated class action complaint in the Class Action Cases shall apply to all

pending class action cases and to any other cases subsequently filed, removed, or transferred to

this Court as a part of this proceeding. Defendants need not respond to any other class action

complaints regardless whether they were previously filed or are hereinafter filed. The

consolidated class action complaint shall not apply to the Private Non-Class Cases.

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With respect to the briefing schedule above, page limitations set forth in the local rules

for the United District Court, District of Massachusetts shall apply.

VH. INITIAL DISCOVERY, PROTECTIVE ORDER, AND FURTHER CASE
MANAGEMENT

A. Initial Discovery

Pursuant to an appropriate protective order, Defendants shall make available to Plaintiffs’
Steering Committee all documents and deposition transcripts and exhibits produced or otherwise
made available by Defendants to plaintiff in the civil action entitled: United States of America ex
rel. David Franklin v. Parke-Davis, et al., (D.Mass. 2001). To the extent reasonably feasible,
Plaintiffs’ Steering Committee will coordinate with Mr. Thomas Greene in order to minimize
any expense and burden to defendants of the reproduction of the materials set forth above.

B. Protective Order

The parties will timely file a proposed protective order to govern the confidentiality of
documents in connection with these consolidated proceedings.

Cc. Further Case Management.

On or before January 25, 2005, the parties shall submit to the Court a proposed joint case
management order relating to scheduling, discovery issues, and other case management matters.
If the parties cannot agree as to one or more provisions relating to the proposed case
management order, then the parties shall set forth alternative provisions in a single document for
consideration by the Court.

On February 2, 2005, at 3:00 p.M., a Case management conference will be conducted by

the Court.

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VII CLASS COUNSELS’ TIME AND EXPENSE RECORDS

A. Maintenance of Contemporaneous Records

Any class counsel who may seek an award (or approval) of a fee (or expenses) by the
Court in connection with this proceeding shall keep a daily record of his/her time spent and
expenses incurred regarding this proceeding, including a specific record of the hours, location,
and particular activity. The failure to maintain such records may be grounds for denying court-
awarded attorneys’ fees.

B. Filing

Each class counsel (or each firm) who may seek an award (or approval) of a fee (or
expenses) by the Court shall file quarterly with Class’ Liaison Counsel a report summarizing
according to each separate activity the time and reasonable and necessary expenses spent during
the preceding quarter (and the ordinary billing rates of such attorneys in effect during such

quarter) and the accumulated total of counsel’s time, hourly rates, and expenses to date.

Proposed Plaintiffs’ Liaison counsel Counsel for Defendants, Pfizer Inc., et al.
By: _/s/ Thomas M. Sobol By: _/s/ David B. Chaffin
Thomas M. Sobol David B, Chaffin, Esquire
Hagens Berman LLP Hare & Chaffin
One Main Street, 4% Floor 160 Federal Street, 23rd Floor
Cambridge, MA 02142 Boston, MA 02110
Proposed Members of the By: /s/ James P. Rouhandeh
Class Plaintiffs’ Steering Committee James P. Rouhandeh, Esquire
Davis Polk & Wardwell
By: /s/ Don Barrett 450 Lexington Avenue
Don Barrett, Esquire New York, NY 10017
Barrett Law Office
404 Court Square North
P.O. Box 987

Lexington, MS 39095

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By: /s/ Daniel Becnel
Daniel Becnel, Jr., Esquire
Law Offices of Daniel Becnel, Jr,
106 W. Seventh Street
P.O. Drawer H
Reserve, LA 70084

By: /s/ James Dugan
James Dugan, Esquire
Dugan & Browne
650 Poydras St., Suite 2150
New Orleans, LA 70130

By: /s/ Thomas Greene
Thomas Greene Esquire
Greene & Hoffman
125 Summer Street
Boston, MA 02110

By: /s/ Barry Himmelstein
Barry Himmelstein, Esquire
Lieff Cabraser Heimann & Bernstein
Embarcadero Center West
275 Battery Street, 30" Floor
San Francisco, CA 94111-3339

Proposed Members of the
Plaintiffs’ Non-Class Steering Committee

By: /s/ Richard Cohen
Richard Cohen, Esquire
Lowey Dannenberg Bemporad
& Selinger, P.C.
The Gateway
One North Lexington Avenue
White Plains, NY 10601

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By:

SO ORDERED:

Dated: | \ ul ( 4

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‘s/ Linda P. Nussbaum
Linda P. Nussbaum, Esquire
Cohen Milstein Hausfeld & Toll
150 East 52™ Street
Thirteenth Floor
New York, NY 10022

Hon. Patti B. Saris
United States District Judge

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